 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page11ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page22ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page33ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page44ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page55ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page66ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page77ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page88ofof99
 Case2:19-cv-04093-WJE
Case  2:19-cv-04093-WJE Document
                         Document1-1
                                  4 Filed
                                     Filed05/07/19
                                           05/06/19 Page
                                                     Page99ofof99
